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    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2
                              Case No. 10-80149-CR-MARRA
    3
         UNITED STATES OF AMERICA,    )
    4                                 )
              GOVERNMENT,             )
    5                                 )
              -v-                     )
    6                                 )
         STEVEN GOODMAN,              )
    7                                 )
              DEFENDANT.              )        West Palm Beach, Florida
    8                                 )        August 17, 2012
         _____________________________)
    9

   10                    TRANSCRIPT OF SENTENCING PROCEEDINGS

   11                   BEFORE THE HONORABLE KENNETH A. MARRA

   12                        UNITED STATES DISTRICT JUDGE

   13

   14    Appearances:

   15    FOR THE GOVERNMENT              Paul Schwartz, AUSA
                                         United States Attorney's Office
   16                                    500 East Broward Boulevard
                                         7th Floor
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   18    FOR THE DEFENDANT               Edward J. Page, ESQ.
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         (561)514-3768                   Official Court Reporter
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    1         (Call to the order of the Court.)

    2                THE COURT:    Good morning, everyone.     Please be

    3     seated.

    4                All right.    We are here in the case of the United

    5     States of America versus Steven Goodman, Case

    6     Number 10-80149-CR-MARRA.

    7                May I have counsel state their appearances, please.

    8                MR. SCHWARTZ:    Paul Schwartz on behalf of the

    9     Government.    Good morning, Your Honor.

   10                MR. PAGE:    Good morning, Your Honor.     My name is

   11     Edward Page.    I'm here on behalf of Mr. Goodman, who's in a

   12     wheelchair to my left.

   13                THE COURT:    Good morning.

   14                MR. PAGE:    Good morning, Your Honor.

   15                THE COURT:    All right.   We are here for sentencing.

   16     Have both sides reviewed the presentence investigation report?

   17                MR. SCHWARTZ:    Yes, Your Honor.

   18                MR. PAGE:    I have, Your Honor.

   19                THE COURT:    And has the Defendant reviewed it with

   20     counsel?

   21                MR. PAGE:    Yes, Your Honor, he has.

   22                THE COURT:    And there were no objections to the

   23     report; is that correct?

   24                MR. PAGE:    We filed some objections, Your Honor, and

   25     clarifications, but they were minor, and Mr. Santucci, the
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    1     probation officer, resolved all of them.

    2               THE COURT:    You know, I just noted Mr. Santucci's not

    3     here.   We need to wait for him to get here.        So we kinda

    4     jumped the gun.    Let's reconvene as soon as Mr. Santucci gets

    5     here.

    6               MR. PAGE:    Actually, Your Honor, I understand he's

    7     taking his son to college, but there will be someone from

    8     probation here.

    9               THE COURT:    Right.   So we need to wait for the

   10     probation officer.     Sorry to jump ahead.     We'll be back as

   11     soon as the probation officer gets here.

   12         (A recess was taken from 10:19 a.m. to 10:26 a.m., after

   13     which the following proceedings were had:)

   14               THE COURT:    Good morning, again.      Please be seated.

   15               All right.    We're back on the record, and the

   16     Defendant's present with counsel.

   17               All right.    We've got our probation officer here.

   18               So there were some objections that have been resolved

   19     as far as the objections to the presentence report, correct?

   20               MR. PAGE:    I believe so, Your Honor.      They were all

   21     resolved through discussion with the Government and with

   22     Mr. Santucci.

   23               And I also wanted to point out, Your Honor, I

   24     neglected early to introduce Ray Mineau (phonetic), who's also

   25     here at counsel table.
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    1               THE COURT:    Good morning.

    2               All right.    So in terms of the guidelines, I will

    3     adopt the findings of the presentence report as the findings

    4     of the Court.

    5               We have some motions for -- well, I guess we also

    6     need to deal with the issue of the three-level reduction

    7     because of the -- he doesn't get acceptance based upon the --

    8     based upon the statutory maximum.       So I guess there's a

    9     dispute between the parties as to where we start the three

   10     levels; is that correct?

   11               MR. SCHWARTZ:     Well, certainly the Government does

   12     not object to the reduction under Rodriguez.         The Court, with

   13     the other defendants in a related case, usually started with

   14     the higher level that included the applicable guideline range.

   15     Here it's a 25, which is 57 to 71 months.         Defense counsel's

   16     asking for the 24, 51 to 63 months.

   17               The Government would rely on the Court's discretion

   18     in that, but previously the Court has usually imposed the

   19     higher guideline range.

   20               THE COURT:    So for the other defendants in the same

   21     position I would, in applying that rationale here, I would be

   22     starting at level 25, correct?       That's what I've done in the

   23     past, Mr. Schwartz?

   24               MR. SCHWARTZ:     Yes, Your Honor.

   25               MR. PAGE:    May I be heard on that, Your Honor?
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    1               THE COURT:    Yes.

    2               MR. PAGE:    May I be heard from here, or do you want

    3     me at the podium?

    4               THE COURT:    As long as the court reporter can see you

    5     and hear you, then I guess you can stay there.

    6               MR. PAGE:    All right.    Thank you, Your Honor.      I'll

    7     speak from here if you don't mind.

    8               We addressed this issue in the sentencing memorandum

    9     that we filed with the Court this past Monday, and I looked at

   10     this issue pretty hard.      I don't believe there's any authority

   11     one way or the other.     I tried to describe it the best I could

   12     in the sentencing memo, and the Court's already flagged the

   13     issue, and that is when the statutory maximum is the guideline

   14     sentence, as it is here, 60 months, there's a choice to be

   15     made when two offense levels under the guidelines capture that

   16     60 months, as they do here.

   17               I've spoken Mr. Mineau.      I've spoken with

   18     Mr. Santucci.    I've looked at the guidelines.       I've practiced

   19     quite a while.    I don't find any guidance here on this issue

   20     other than the rule of lenity, which we included and addressed

   21     in the sentencing memo filed with the Court.         And under the

   22     rule of lenity, the general rule is if there's not something

   23     on point, then we're going to give the benefit of the doubt to

   24     the Defendant.    And I'd ask you to do that here, because

   25     Mr. Goodman does straddle two offense levels, when his offense
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    1     level guideline sentence is 60 months.        And starting at level

    2     24 certainly captures that, because it's within 51 to 63, and

    3     I think it's the right thing to do and the fair thing to do

    4     absent any authority to the contrary.

    5               THE COURT:    Well, I'm going to be consistent with the

    6     way I've approached this with all the other defendants in this

    7     case by using the level 25.      He's getting the full benefit of

    8     a three-level reduction and getting full benefit of

    9     acceptance.    So I'm going to overrule your request and start

   10     at level 25.

   11               So based upon the Rodriguez case and the -- giving

   12     the Defendant the benefit of acceptance under Rodriguez, I'm

   13     going to lower his guideline range to a level 22, which would

   14     be a 41- to 51-month range.      So that's where we'll start in

   15     terms of the guidelines.

   16               Now, let's hear from the Government on the motion for

   17     reduction based on substantial assistance.

   18               MR. SCHWARTZ:     Yes, thank you, Your Honor.

   19               As the Court's aware, this has been a complex and

   20     lengthy investigation and prosecution.        There were some

   21     tangents to this case that the Government is still continuing

   22     to investigate, and I'll explain that to the Court.          But

   23     because of those tangents, we asked Mr. Goodman to come in and

   24     submit to debriefings.      He did come up, come in.      He submitted

   25     to lengthy debriefings.      We found him to be candid and
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    1     cooperative.

    2               What the Government is looking at is that

    3     pharmaceutical wholesalers, Your Honor, under federal law,

    4     code of federal procedure, have a due diligence obligation to

    5     make sure that they are not supplying controlled substances to

    6     what in essence are pill mills or illegal distribution

    7     networks.   Mr. Goodman himself obviously has pled guilty to

    8     that and has some knowledge of those.

    9               We are looking at other pharmaceutical wholesalers

   10     all the way back to the pharmaceutical suppliers.          Mr. Goodman

   11     has offered and proffered significant information on that, and

   12     then he went a step further.       He acted proactively.     We asked

   13     him -- the agents sat down with him and asked him to

   14     consensually record conversations with targets of the

   15     investigation who were themselves salespersons employed by

   16     significant pharmaceutical wholesalers that the Government

   17     believes were committing criminal acts.        Mr. Goodman made

   18     several consensually recorded conversations with these people,

   19     and the information he's provided to us has been substantial.

   20     We are continuing with that investigation.         That is the next

   21     phase of this case.     Of course, at this point we don't know if

   22     it will be successful, but Mr. Goodman, certainly his conduct

   23     his risen to the level of substantial assistance, and we

   24     believe he should get the benefit of a downward departure.

   25               The Government's normal recommendation for downward
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    1     departure is one third, and that's what I would recommend.

    2     But, again, Mr. Goodman was candid, cooperative and did

    3     proactive activities.

    4               THE COURT:    All right.    Thank you.

    5               MR. SCHWARTZ:     Thank you.

    6               THE COURT:    Counsel, do you want to be heard?

    7               MR. PAGE:    Yes, Your Honor.     May I just simply

    8     address that issue?

    9               THE COURT:    Yes.

   10               MR. PAGE:    All right.    I was there for the proffer,

   11     Your Honor, and I also was instrumental in assisting

   12     Mr. Goodman make these consensual calls with representatives

   13     of the Government.     He did make several recorded phone calls.

   14               As a former state and federal prosecutor, I would

   15     concur with the Government's assessment that the information

   16     was substantial and meaningful, and that he went above and

   17     beyond the call of duty in making consensual calls, and in

   18     that regard may have subjected himself to some danger, because

   19     those folks knew who was calling, and those calls may at some

   20     point in time see the light of day in a trial, hearing or

   21     otherwise.

   22               So while I appreciate the Government's 33 percent

   23     motion and accommodation for Mr. Goodman, because it's a

   24     little bit more than just your standard debriefing at this

   25     point in time, I would ask the Court to consider rewarding him
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    1     with a little bit more than the 33 percent because he went

    2     above and beyond and did make some recorded calls and may have

    3     jeopardized himself and his safety.

    4               THE COURT:    All right.    I certainly am going to grant

    5     the Government's motion and find that the Defendant has

    6     provided substantial assistance justifying a reduction in his

    7     sentence.   I guess I'll wait until the end of the hearing to

    8     decide exactly how much to award for his substantial

    9     assistance after I hear all the arguments on the departure and

   10     variance requests by the defense.

   11               All right.    So you want to be heard on your departure

   12     and variance requests?

   13               MR. PAGE:    I do, Your Honor.     Thank you.

   14               I'd like to first have Judith Bartell speak to the

   15     Court, and she's available and in the rear of the courtroom,

   16     Your Honor.

   17               Ms. Bartell.

   18               THE COURT:    She's going to just make a statement, or

   19     is she going to --

   20               MR. PAGE:    She's just going to make a statement, Your

   21     Honor.

   22               THE COURT:    Okay.   Come on, ma'am.     Right up here,

   23     ma'am.

   24               If you can tell us your name and spell your last name

   25     for us.
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    1                THE WITNESS:    My name's Judith Bartell.      It's spelled

    2     B-a-r-t-e-l-l.

    3                THE COURT:    Yes, ma'am.

    4                THE WITNESS:    Thank you, Your Honor, for allowing me

    5     to be heard today regarding my fiance', Steven Goodman.            This

    6     information is not included in my letter to the Court, and I

    7     hope you'll consider this during your sentencing.

    8                His operations at Medical Arts are very simple.         His

    9     accounting system still runs under DOS, but the nursing homes

   10     and the hospitals that he sells to count on him as the go-to

   11     guy when items are in short supply or they can't find

   12     something they really need.       His vitamin customers trust him

   13     implicitly.    His attention to detail and meticulous standards

   14     in order processing, product handling and customer service are

   15     in direct conflict with what you'll see in our video

   16     presentation, the clutter and chaos that surrounds his desk.

   17                I really struggle with how did Steve get here.          He's

   18     highly educated, he's well read, he's a loving and very

   19     spiritual person.     He understands the risks of morbid obesity,

   20     how the body's physiology works, poor diet.         Yet despite his

   21     own efforts, he's unable to control his weight.          He is a

   22     horder.

   23                And what I've learned about Steve is there is a huge

   24     disconnect between what he's able to do for others and what

   25     he's able to do for himself.       While Steve is a very private
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    1     person, there are some stories with his life he has shared

    2     with me.    There are two in particular that stand out, one of

    3     which was his mother was a horder.        She also had a weight

    4     problem.    And as a child, he tells me the story, my mother

    5     only wanted one child.      Now, Steve is the second of two.       The

    6     lady upstairs told my mother she should have a second child.

    7     My mother reminded me that story often, I only wanted one

    8     child.

    9                It seems to me that over time that resonated with

   10     Steve and became very painful.       He's never referred to his

   11     parents as mom or dad, pop, whatever, nothing shortcut.

   12     They're always mother and father.        And I believe Steve has

   13     spent a life trying to prove he's worthy of people's love.            I

   14     asked him if he remembers getting hugs from his parents,

   15     teased in school about his weight, which has been a lifelong

   16     battle, who his favorite elementary schoolteacher was.           There

   17     is a lot about his life growing up he just can't remember.

   18     I'm assuming it's selective memory because memories are so

   19     painful he doesn't want to remember them.         But what he does

   20     recall is spending a lot of time in his room alone or watching

   21     television alone.     He's mostly into science fiction.        He reads

   22     a lot of books.     On his bucket list, riding into outer space.

   23                His favorite character is Mr. Stock from Star Trek,

   24     an alien being who is in total control of his emotions.           Steve

   25     has spent his lifetime trying to emulate Mr. Spoke to shield
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    1     his loneliness.     I asked him why his first marriage didn't

    2     work out.    His answer was very nebulous.       He could only say

    3     that it just didn't, they were two different people, but he

    4     never said a word about they were ever in love with each

    5     other.    He regrets never having a family of his own, and I'm

    6     not sure that Steve hasn't until now ever been involved in a

    7     truly loving relationship.

    8                You've already seen through the character letters

    9     submitted to the Court that Steve was instrumental in helping

   10     my son David, who's now a PFC in the army, get past difficult

   11     times in high school and become an Eagle Scout.          I have

   12     another son, his name is James, who lives in Cleveland with

   13     our three-year-old grandson Aiden.        Steve has encouraged James

   14     to finish college, helping him with tuition expenses, books

   15     and certification classes.       He considers my children his

   16     children.

   17                And with no children of his own, over the last 40

   18     years Steve has filled a void in his life by adopting

   19     abandoned dogs.     Not just any dogs, rottweilers.       They're big,

   20     they're loyal, they are sometimes considered dangerous dogs,

   21     but Steve has a way with these animals.         And they have a lot

   22     in common.    On the outside they're big, they're tough, but on

   23     the inside they're just cuddle puppies yearning to be loved.

   24                When I met Steve he had a dog named Rodney, a stray

   25     that made its way into the Medical Arts parking lot.           Steve
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    1     took him in, got him treated for mange and fleas, and they

    2     were together for about 12 years until Rodney died from cancer

    3     two years ago.     Steve was lost.     I've had friends who have

    4     lost children, and watching Steve was like watching one of my

    5     best friends after her son died.        Steve mourned Rodney as

    6     though he had lost a son.       Steve can't let go of his children.

    7     Rodney and other past pets, Christie, Eric and Nonie

    8     (phonetic) are in earns on a table in our living room, and

    9     when Steve dies he would like the dogs buried with him.

   10                Within a couple of weeks of losing Rodney, I realized

   11     that Steve had become very withdrawn and depressed, so we

   12     started looking for another rottweiler to help fill his

   13     emptiness.    We found Sadie, a one-year-old puppy suffering

   14     from abuse and malnutrition.       Sadie is Steve's constant

   15     companion.    He takes her with him almost everywhere we go,

   16     including to work every day.       He needs to have her close by at

   17     all times, and one of the few pleasures he has left in life is

   18     to sit on the edge of the bed and pet Sadie.

   19                In the wake of the indictment, Steve is faced with

   20     losing all of his professional licenses.         This will cost him

   21     his business and his livelihood.        Pharmacy's the only job he's

   22     ever known.    These proceedings have had a profound impact on

   23     him both physically and emotionally.        In the last year he has

   24     gained over a hundred pounds.       He is beyond mortified.      He's

   25     humiliated, he's remorseful, and frankly he's scared.           He
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    1     can't fathom how he permitted his own actions to lead him to

    2     this point.    He is regretful, and he constantly berates

    3     himself, allowing his behavior to have crossed boundaries that

    4     in his 46-year career had never been crossed before.

    5                Although we are not married yet, I am here before you

    6     as the wife.    I take care of him every day, and I believe that

    7     Steve will not survive any amount of incarceration, even if

    8     it's only for a day.      I can't imagine how the Bureau of

    9     Prisons could care for him.       He is in constant pain both

   10     physically and emotionally, and there are certain unpleasant

   11     tasks related to his personal hygiene that I do for Steve

   12     every day that I am absolutely sure no one in BOP is going to

   13     want to do for him.

   14                He needs to use the bathroom three to four times per

   15     night.    I'm concerned he could die in his sleep from sleep

   16     apnea.    While he does use a BiPAP machine, you can tell when

   17     Steve stops breathing.      The machine sounds changed.       You can

   18     tell when it goes into effect and it's keeping air forced into

   19     his body to keep him breathing.        If it lasts for more than a

   20     few seconds I will nudge him so he resumes breathing normally.

   21     What little sleep he gets is the only peace he knows.

   22                In the last year, his heart-related A-fib episodes

   23     have increased in both the number of occurrences and the

   24     length of time an episode happens.        His doctor has had to

   25     double his medication in June of this year.         If he falls he
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    1     cannot get up unassisted.        Every morning that Steve actually

    2     wakes up next to me I take as a gift.        He's afraid his life

    3     will be over soon and he will die in prison alone.

    4                Your Honor, I can only ask that you please consider

    5     Steve's life's entire work as an offset to a short time of

    6     illicit activity.      He can't explain the why of what he let

    7     transpire, but I know he is extremely sorry for his actions.

    8     It would be a huge burden on everyone involved in Steve's care

    9     if he were sentenced to prison.        So if I could ask for your

   10     compassion and request probation instead and fines instead of

   11     prison, leave him in my care, it would be the best outcome for

   12     everyone.

   13                Thank you.

   14                THE COURT:    Thank you.

   15                MR. PAGE:    Thank you, Your Honor.

   16                We have a brief video that I'd like to play as part

   17     of some exhibits that I want to introduce, Your Honor, that

   18     I've provided to the Government.        This would be about seven

   19     and a half minutes.      I'm set up to do that, and it would be

   20     Defendant Goodman's exhibit number 5, which is a part and

   21     parcel of seven exhibits that I'd like to introduce and make

   22     part of the record with the Court right at this point in time.

   23                THE COURT:    Any objection?

   24                MR. SCHWARTZ:    No objection, Your Honor.

   25                THE COURT:    Okay.    I'll admit the exhibits without
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    1     objection.

    2          (Defendant's Exhibit No. 1-7 entered into evidence.)

    3                MR. PAGE:    Thank you, Your Honor.

    4          (Videotape playing.)

    5                MR. PAGE:    This is the house where he grew up, Your

    6     Honor, in Cincinnati.

    7                This is his current location, Your Honor, in St.

    8     Petersburg, Florida, on Central Avenue.

    9                This is his office area, Your Honor, within the

   10     location previously depicted in Defendant's number 7.           It's

   11     his, in effect, area of Medical Arts Pharmacy, Inc., where he

   12     spends the bulk of his day accepting phone orders for vitamins

   13     and noncontrolled pharmaceuticals, such as Lipitor and the

   14     like, and shipping them out to customers.

   15                This is a pan of his living room and kitchen area,

   16     Your Honor.

   17                Here, Your Honor, in number 7 he's reaching for his

   18     BiPAP machine.

   19                Thank you, Your Honor.      That's the conclusion of the

   20     video.

   21                THE COURT:    Okay.

   22                MR. PAGE:    And my first witness that I would call and

   23     only witness would be Dr. Michael S. Maher, M-a-h-e-r, who's

   24     in the gallery.

   25                THE COURT:    Okay.
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    1                MR. PAGE:    Thank you.

    2                THE COURTROOM DEPUTY:      Raise your right hand.

    3             Michael Scott Maher, Defendant's witness, sworn.

    4                THE COURTROOM DEPUTY:      Please state your full name

    5     and spell your last name for the record.

    6                THE WITNESS:    Michael Scott Maher, M-a-h-e-r, MD.

    7                THE COURT:    Have a seat, sir.

    8                THE WITNESS:    Thank you, Your Honor.

    9                THE COURT:    If you can try and pull that microphone

   10     towards you, speak into it.

   11                Mr. Page, would you mind approaching the lecturn?

   12     You're going to, I assume, question him?

   13                MR. PAGE:    Yes, I am, Your Honor.

   14                THE COURT:    If you can do it from the lecturn,

   15     please.

   16                MR. PAGE:    From the lecturn?    All right, Your Honor.

   17                               Direct Examination

   18    BY MR. PAGE:

   19     Q    Would you tell us your full name.

   20     A    Michael Scott Maher.

   21     Q    All right.    When you answer, could you lean into the

   22     microphone so we can hear you?

   23                THE COURT:    You can move it up, Doctor.

   24                THE WITNESS:    Okay.

   25                THE COURT:    Thank you.
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    1    BY MR. PAGE:

    2     Q    How old are you?

    3     A    Fifty-nine.

    4     Q    And what is your business address?

    5     A    50 --

    6                THE COURT:    I don't need his business address.

    7    BY MR. PAGE:

    8     Q    All right.    You've been practicing psychiatry how long?

    9     A    Thirty years.

   10     Q    Are you a medical doctor?

   11     A    I am a medical doctor.      I graduated from the University of

   12     South Florida College of Medicine in '79.

   13     Q    As part of being a medical doctor and having a psychiatric

   14     practice, do you also prescribe medication to patients?

   15     A    Yes, I do.    I have a general outpatient psychiatric

   16     practice and also evaluate people in the court system, civil

   17     and criminal.

   18     Q    Do you, as well, see and treat patients with either mental

   19     or psychiatric disorders?

   20     A    I do.

   21     Q    Do you serve the interests of many, rather than one, when

   22     you come to court?

   23     A    I do.

   24     Q    All right.    Have you testified for both the defense and

   25     the prosecution?
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    1     A    I have on many occasions.

    2     Q    You were asked to see Steven Goodman, correct?

    3     A    Yes, I was.

    4     Q    Did you prepare a psychiatric report, approximately 13

    5     pages, dated July 31st, 2012?

    6     A    Yes, I did.

    7                MR. PAGE:    That's previously part of the exhibits,

    8     Your Honor.    However, we sent that to the Court and to

    9     opposing counsel so that the Court would have the benefit of

   10     that before today's hearing.       Because it contains confidential

   11     and private information, I don't really want to make it a part

   12     of the -- an exhibit for the court file.         I did list it as an

   13     exhibit, but I don't really want to make it a part of that and

   14     have its contents, which have HIPPA issues, as well, if the

   15     Court would please.

   16                THE COURT:    It's part of the presentence report,

   17     which is confidential and restricted, so . . .

   18                MR. PAGE:    Correct.

   19                THE COURT:    So we'll just leave it there.

   20                MR. PAGE:    All right.   Thank you, Your Honor.

   21    BY MR. PAGE:

   22     Q    I want to ask you some questions about your findings.           You

   23     did make some findings regarding Mr. Goodman, correct?

   24     A    I did reach some conclusions, yes.

   25     Q    And in reaching your findings, did you consult with Luis
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    1     Hernandez, a former Bureau of Prisons health services

    2     administrator?

    3     A    Yes, I did.

    4     Q    Did you also consult in reaching your findings with Phil

    5     S. Wise, a former warden in the Bureau of Prisons for many

    6     years?

    7     A    Yes, I consulted with both of them.        I spoke to both of

    8     them on the telephone on three separate occasions, and I also

    9     reviewed some written documentation that they have provided

   10     regarding issues related to this case.

   11     Q    The written documentation that you looked at in forming

   12     your expert opinions in this matter, were those -- did they

   13     consist of the declarations that Luis Hernandez and Phil Wise

   14     prepared and signed?

   15     A    Yes.

   16                 MR. PAGE:   All right.   And those, Your Honor, are

   17     defense exhibits number 2 and 3 previously admitted without

   18     opposition or objection.

   19    BY MR. PAGE:

   20     Q    All right.    The first finding I want to ask you about is

   21     one regarding Mr. Goodman's age and life expectancy.           As part

   22     of your task in providing forensic consultation here, did you

   23     look at data and information regarding Mr. Goodman, his

   24     medical condition, his medications and his life expectancy?

   25     A    Yes, I did.
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    1     Q    And did you reach an opinion regarding his life

    2     expectancy?     His, meaning Mr. Goodman's?

    3     A    Yes, I did.

    4     Q    And what is that?

    5     A    Essentially the opinion is that his reasonable life

    6     expectancy falls in the range of one to three years.           And

    7     that's based on a conservative estimate of his medical

    8     conditions, how they affect them, established actuarial tables

    9     and what I consider to be some vary solid research on the

   10     morbidity associated with obesity in elderly.

   11     Q    So you're saying one to three years from today?

   12     A    Actually, I calculated it from this 69th birthday, which

   13     is next month.

   14     Q    All right.    September 7th, 2012, he turns 69, correct?

   15     A    Yes.

   16     Q    So your opinion is that his life expectancy from that date

   17     is one to three years?

   18     A    Yes.

   19     Q    Is this an approximation?

   20     A    Certainly.

   21                 And I don't suggest by any means that it can be

   22     exact, but it's the kind of thing I would come up with if the

   23     family consulted me about estate planning issues or

   24     testamentary capacity issues or making arrangements for

   25     children or grandchildren, and they ask me, well, what's
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    1     reasonable, Doctor?      Can you look into it?     Can you give us

    2     some feedback?     This is what I would offer.

    3     Q    One of the documents or pieces of information you relied

    4     upon in opining that that's -- Mr. Goodman has a one- to

    5     three-year life expectancy is a Department of Justice study,

    6     is it not?

    7     A    Yes, it is.

    8     Q    And what does that study indicate?

    9     A    It indicates that there is a significant decline in life

   10     expectancy in individuals who are incarcerated, possibly

   11     somewhere in the range of 10 years.

   12     Q    I want to ask you some questions now, Dr. Maher, about the

   13     medical conditions Mr. Goodman suffers from.          You were

   14     provided a medical chronology, correct, in this consultation?

   15     A    I was provided with a variety of medical records and put

   16     together a medical chronology, if you will, from those

   17     records, his history, the history provided by Judy.           I think

   18     that's the sources I used.

   19     Q    Is that -- Judy is Judith Bartell?

   20     A    Yes, Judith Bartell.

   21     Q    All right.    Can you outline in summary fashion the medical

   22     conditions that Mr. Goodman suffers from?

   23     A    I did, yes.

   24     Q    What are those?

   25     A    He has a variety of problems.       Obviously, his morbid
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    1     obesity is the most clear and apparent.         He has a variety of

    2     other medical problems, including atrial fibrillation with

    3     ventricular tachycardia as a complication, which is a

    4     potentially life-threatening condition.         He has a variety of

    5     mental health problems related to his hording behavior,

    6     anxiety, social isolation, agoraphobia, fear of being out in

    7     the world, and he has a variety of personality traits that

    8     tend to produce a very rigid pattern of behavior and make it

    9     extremely difficult for him to adapt to changing circumstances

   10     in a positive way.

   11                So the combination of the physical problems, the

   12     longterm and extremely tenaciously established personality

   13     problems and traits and the lack of ability to change create a

   14     scenario which reduces his general capacities and makes it

   15     extremely unlikely that the prognosis for any of his

   16     conditions will be positive, and more likely that it will be

   17     negative.

   18     Q    Let's go back.

   19                What is atrial fibrillation?

   20     A    Atrial fibrillation is essentially a trimmer in the upper

   21     part of the heart chamber, the heart chamber that feeds blood

   22     into the strong pumping chamber, the ventricular chambers of

   23     the heart, and is associated with abnormal rhythms.           In his

   24     case at least one episode of tachycardia or extremely fast

   25     heartbeat, which is a condition which sometimes precedes
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    1     cardiac arrest or heart attack.

    2     Q    You're aware that Mr. Goodman's had many of these

    3     incidents over the past several years, correct?

    4     A    I'm aware that he has many of the atrial fibrillation

    5     incidents.    The ventricular tachycardia have been less

    6     frequent.

    7     Q    He also suffers from high blood pressure, correct?

    8     A    Yes, he does.

    9     Q    And are you aware of how the Bureau of Prisons treats high

   10     blood pressure and their success rate?

   11     A    I am aware as a result of information provided by Mr. Wise

   12     and Hernandez, I have relied on that information, and I

   13     believe they said the Bureau of Prisons certainly does make an

   14     attempt to treat high blood pressure based on what I would

   15     consider to be very good audits of their success reported by

   16     Mr. Wise and Mr. Hernandez.       They are not particularly

   17     successful in treating it in many patients, and I would expect

   18     in an individual with a very complex regime of medications,

   19     many of which are not available in the national formulary

   20     through the Bureau of Prisons, he will face a very difficult

   21     time receiving adequate treatment for all of his medical

   22     conditions, particularly his high blood pressure.

   23     Q    He also suffers from Type 2, or I believe what's called

   24     adult onset diabetes, correct?

   25     A    That's correct.
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    1     Q    Would you tell us a little bit about that?

    2     A    Type 2 diabetes is a disorder of blood sugar metabolism.

    3     In his case he has not required insulin treatment yet, but it

    4     is subject to deterioration when other conditions, including

    5     high blood pressure and heart disease, worsen, and it results

    6     in deterioration essentially of all the body systems.           So it's

    7     a metabolic disease which has consequences for all aspects of

    8     his other health.

    9                It is somewhat surprising, given his health and

   10     condition, that he doesn't have more severe diabetes.

   11     Q    Requiring medication?

   12     A    That's right.

   13     Q    I represent to you that his blood sugar recently was 112.

   14     Where does that fall on the scale of blood pressure -- I'm

   15     sorry, diabetes?

   16     A    It would really depend on the circumstances.         That number

   17     alone wouldn't be something I would interpret.

   18     Q    All right.    I want to ask you some questions about sleep

   19     apnea.    I represent to you and I believe you've seen medical

   20     records documenting that Mr. Goodman suffers from very severe

   21     sleep apnea.    Tell us a little bit about this.

   22     A    Sleep apnea is a more recently recognized condition in

   23     which an individual stops breathing at night for a variety of

   24     reasons often related to their posture.         Not all that well

   25     understood.    It is associated with hypoxia, that is decreased
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    1     oxygen to the brain, which causes a variety of problems.           It

    2     causes a spike in blood sugar, it causes cardiac instability

    3     and cardiac arrhythmias.      It is associated with longterm

    4     development of depression and anxiety, which is often then

    5     treated with medication.

    6                 The various interventions to treat sleep apnea are I

    7     would say moderately good in many people, and his BiPAP

    8     machine may indeed save his life.        It does not restore a

    9     normal pattern of sleep, so he's going to continue to have --

   10     he has now and will continue to have an abnormal sleep

   11     pattern.

   12     Q    There's a difference between a BiPAP and a CPAP, correct?

   13     A    Yes.

   14     Q    Mr. Goodman has a BiPAP?

   15     A    Yes.

   16     Q    Can you explain how that differs from a CPAP?

   17     A    The CPAP is continuous and expiratory pressure, and a

   18     BiPAP is a little bit more complicated than that in terms of

   19     how it regulates the respiratory pressure.

   20     Q    Is the BiPAP for more serious cases of sleep apnea that

   21     require pressure, continuous pressure, as the person inhales

   22     and both exhales?

   23     A    Yes.    Like I said, it has a cycle that's more complex than

   24     the standard CPAP machine.

   25     Q    Mr. Goodman also suffers from gout with some arthritis,
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    1     correct?

    2     A    Yes.   And that's a metabolic condition and is associated

    3     at least statistically with the diabetes and is something

    4     which he requires treatment for and is likely to worsen.

    5     Q    And why is it likely to worsen?

    6     A    It's likely to worsen because it's related to his other

    7     chronic medical conditions.       Those will almost inevitably

    8     worsen with age, and probably rapidly given his circumstances.

    9     The stress of this case and his feelings about it and the

   10     potential incarceration also has a negative effect on that.

   11     Q    And would the stress of incarceration worsen his gout and

   12     arthritis, as well as his other medical conditions that we've

   13     discussed?

   14     A    It is my opinion that it almost inevitably will worsen all

   15     of those.

   16     Q    And why?

   17     A    Well, the first issue is that unfortunately it appears

   18     unlikely that his diet will be better controlled in the Bureau

   19     of Prisons than it is outside.       I have consulted extensively

   20     with Mr. Wise and Mr. Hernandez regarding this.          And assuming

   21     that his diet doesn't change significantly, it's likely to get

   22     worse, because he will be under more stress, he will eat more

   23     obsessively and compulsively, he will have more unmet

   24     emotional needs which he will respond to by attempting to fill

   25     himself up with food.      And for all of those reasons, his --
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    1     the pattern and the cycle of his morbid obesity and its

    2     connection to all of his other conditions is likely to

    3     accelerate during a period of incarceration.

    4                THE COURT:    Can I ask a question about that?

    5                MR. PAGE:    Absolutely, Your Honor.

    6                THE COURT:    Doctor, his diet doesn't seem to be being

    7     handled very well under current circumstances.          How could it

    8     be any worse?

    9                THE WITNESS:    Well, certainly you're right, Your

   10     Honor.    I mean, the calorie intake is excessive, and that's

   11     been a lifelong problem.

   12                The reason it could be worse is he could eat even

   13     more.

   14                THE COURT:    How could he eat more in a prison setting

   15     than he does at home, where there's no restrictions on what he

   16     eats?

   17                THE WITNESS:    Your Honor, I asked Mr. Wise and

   18     Mr. Hernandez exactly that question, and what they told me is

   19     in spite of everything, he's likely to be in a cafeteria style

   20     feeding situation where his diet is not restricted.           They also

   21     informed me that the only restrictions to diet are under

   22     medical circumstances.

   23                THE COURT:    Wouldn't that apply here?

   24                THE WITNESS:    Which they described as essentially

   25     only if he's in an inpatient-type environment.
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    1                And his drive to eat more is certainly likely to

    2     increase.

    3                Another part of this which is problematic is

    4     apparently the Bureau of Prisons will rely on other inmates to

    5     provide necessary medical support.        And one of the

    6     circumstances and realities that both of these individuals

    7     described to me is that there's a regular trade in canteen

    8     items and food for that.      So, Your Honor, frankly I find it

    9     somewhat astonishing, but both of these people, who I would

   10     consider very authoritative and reasonable sources,

   11     essentially told me, no, he's going to get as much as he wants

   12     to eat while he's in the prison setting.

   13                THE COURT:    Were they assuming he was going to be in

   14     a typical Bureau of Prisons facility or a medical facility,

   15     where I think, and I don't know, that there may be more

   16     supervision or control over the inmate and the assistants that

   17     are going to be working with him?

   18                THE WITNESS:    Yes.   Actually, we discussed that

   19     considerably, and apparently there is some question as to

   20     whether he would be categorized as a level three care or a

   21     level four care.     A level four care is their highest level of

   22     care and generally reserved for individuals who are

   23     terminally -- immediately terminally ill or acutely ill, and I

   24     think that both of their opinion is it would be certainly a

   25     level three or a level four.
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    1                The level three care does not provide for any imposed

    2     dietary restriction.      The level four would, and it appears un

    3     -- it appears to me unlikely that he would be consistently

    4     assigned to a level four care.        That is, as I understand it,

    5     essentially the same as an inpatient hospitalization.

    6                THE COURT:    All right.    Thank you.

    7    BY MR. PAGE:

    8     Q    Care level four is for cancer-stricken and people who are

    9     terminally ill, correct?

   10     A    Or somebody who's having an acute medical problem, such as

   11     respiratory failure, that requires immediate and 24-hour

   12     nursing.

   13     Q    I want to continue on with two more of the -- and final

   14     medical conditions that Mr. Goodman suffers from.          The next

   15     one, multiple colon polyps that surgery removed in the past.

   16     A    That's correct, and he had I think four colonoscopies.           On

   17     each occasion there were polyps removed.

   18     Q    Is Mr. Goodman due for another colonoscopy?

   19     A    He is.    Actually, he postponed it because of the

   20     circumstances of this case and because of his inability to

   21     deal with his various medical problems.

   22     Q    Okay.    And, finally, you noted in your report dated

   23     July 31st, 2012, that Mr. Goodman had weight loss surgery back

   24     in 1995, correct?

   25     A    He did.
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    1     Q    Can you tell us a little bit about that?

    2     A    He had a pretty typical weight loss surgery.         They removed

    3     a large part of skin and adipose tissue, 150 pounds or so.            He

    4     had a complication, including a potentially fatal respiratory

    5     failure, tracheostomy and so on.        And for that reason, he is

    6     frightened of further weight loss surgery and also further

    7     aggressive and invasive processes to help him with his weight

    8     problem.

    9     Q    You're also aware and made it a part of your findings and

   10     expert opinions that Mr. Goodman is on several medications for

   11     the medical conditions that you just described, correct?

   12     A    That is correct.

   13     Q    All right.    One is a drug called Flecainide.

   14                MR. PAGE:   These are at -- this list, Your Honor, is

   15     at Defendant Goodman's exhibit 7, part of the notebook that I

   16     handed the Court before.

   17    BY MR. PAGE:

   18     Q    Is Flecainide able to control atrial fibrillation?          Is

   19     that what that's for?

   20     A    That is the intent of it, and it is my understanding based

   21     on the medical records and his reports to me that it is

   22     reasonably effective in doing that.        Not a hundred percent

   23     effective, but reasonably effective.

   24     Q    Was Mr. Goodman's Flecainide dosage unit recently

   25     increased?
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    1     A    It was, yes.

    2     Q    And why?

    3     A    Because he was having more episodes of atrial

    4     fibrillation.     They were increasing in spite of the medication

    5     being present.

    6     Q    The second drug that he's on or medication is Halfprin,

    7     correct?

    8     A    Yes.

    9     Q    What is that?

   10     A    It's a medication that reduces clotting, reduces platelet

   11     stickiness, if you will.      It overlaps with the effect of

   12     aspirin, but it is different and effective in somewhat

   13     different ways.

   14     Q    He's also on vitamin D, correct?

   15     A    Yes.

   16     Q    What is vitamin D for?

   17     A    In his case it's related to bone density issues and the

   18     need to maintain optimal, as much as possible, calcium

   19     metabolism.

   20     Q    Is there a problem with that with someone who weighs

   21     approximately 524 pounds, as Mr. Goodman does?

   22     A    Yes.   His bones need to support more weight than the

   23     normal person, and if he falls or ends up in an awkward

   24     position he can break a limb doing what, for other people,

   25     would be simply normal activities.
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    1     Q    Why is that?

    2     A    Because the tremendous amount of weight which might be

    3     shifted to a limb.

    4     Q    Mr. Goodman's also prescribed Flomax, correct?

    5     A    Yes.

    6     Q    What is Flomax?

    7     A    It's related to bladder functioning and allowing him to

    8     empty his bladder, in part related to his obesity, also

    9     related to his benign prostatic enlargement.

   10     Q    Mr. Goodman's also prescribed Lipitor.

   11     A    And he has high cholesterol, and that's a standard

   12     treatment and seems to be reasonably effective for him.

   13     Q    There's a blood pressure medicine that Mr. Goodman is

   14     prescribed.

   15     A    Spironolactone.

   16     Q    What is that?

   17     A    It is a blood pressure medication.        It is a kidney

   18     diuretic.    It tends to produce -- promote the kidney, reducing

   19     fluid overload and has some effect on electrolyte balance.

   20     Q    The next medication Mr. Goodman is on is Uloric

   21     40 milligrams.     What is that?

   22     A    Uloric is a medication which affects uric acid metabolism

   23     and reduces the crystallization of uric acid in the joints,

   24     thereby reducing gout symptoms.

   25     Q    Mr. Goodman has had problems with gout and arthritis,
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    1     correct?

    2     A    Yes.

    3     Q    Is that painful?

    4     A    Is.

    5     Q    And why?

    6     A    Because the uric acid crystals tend to form in joint

    7     spaces, and joint spaces are particularly sensitive to foreign

    8     body.    It's a little bit like having sand rub between bones.

    9     Q    Another medication Mr. Goodman is prescribed is Colcrys,

   10     C-o-l-c-r-y-s, correct?

   11     A    Yes, and Colcrys is a Colchicine-like medication also used

   12     to reduce -- to affect uric acid metabolism and reduce gout

   13     symptoms.

   14     Q    Also, Mr. Goodman is prescribed testosterone in the form

   15     of Testim, T-e-s-t-i-m, correct?

   16     A    Yes.

   17     Q    What's that for?

   18     A    It's a testosterone cream to raise testosterone level.

   19     There are a variety of health indications for that, and

   20     related, among other things, to his obesity.

   21     Q    Also, Mr. Goodman is prescribed what we talked about a

   22     little bit already, and that's a BiPAP machine for sleep

   23     apnea.     That's a prescription, correct?

   24     A    Yes.    And I would say that it's certainly medically

   25     necessary.
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    1     Q    And, finally, Mr. Goodman has a Combivent inhaler, as

    2     well, as a last prescription, correct, that you're aware of?

    3     A    Yes.    Since his surgery and respiratory failure he's had

    4     some tendency toward breathing or bronchospasm, and the

    5     inhaler inhibits that.

    6     Q    Now, so you're aware that Mr. Goodman is prescribed

    7     approximately 11 medications currently, correct?

    8     A    Yes.

    9     Q    In your consultation with Luis Hernandez, the former

   10     Bureau of Prisons health services administrator, and Phil

   11     Wise, the former Bureau of Prisons warden, both of whom, as

   12     you know, prepared declarations for this case, did you discuss

   13     these medications and learn about the Bureau of Prisons

   14     formulary?

   15     A    Yes.

   16     Q    Would you tell the Court briefly about the Bureau of

   17     Prisons formulary.

   18     A    Yes.

   19                 Your Honor, the opinion I have about this that I

   20     think is worth considering is that he has -- Mr. Goodman has a

   21     complex set of medications, about half of which are on the

   22     Bureau of Prisons formulary.       So those medications, assuming

   23     the doctors feel they're indicated, and I would expect they

   24     will, are likely to be immediately available in the doses he's

   25     currently taking.     The other five medications are not
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    1     available on the formulary.       Now, they have alternative

    2     medications which are intended to provide the same medical

    3     benefit, but unfortunately, particularly in complex medication

    4     cases, alternative medications that may provide the benefit

    5     sometimes don't in a specific individual.         So they're going to

    6     be faced with finding approximately half of his medications.

    7     They will need to find alternative treatments, which are not

    8     simply a change of generic to brand but an actual different

    9     chemical intended to do the same medical intervention.           And it

   10     is inevitable that that will be a difficult medical task.            It

   11     would be my opinion that it's likely that the balance of

   12     medications that he currently has will not be able to be

   13     duplicated, and there will be some decline in the

   14     effectiveness of those medications for that reason.

   15                It's also my understanding that it's very difficult

   16     to go outside of the formulary, that it is possible, but that

   17     it may, under some circumstances, take months to get out, to

   18     have authorization to use medications outside of their

   19     formulary.

   20                THE COURT:    Can I ask another question?

   21                MR. PAGE:    Absolutely, Your Honor.

   22                THE COURT:    Do you know if the -- if it can be done

   23     in terms of finding other medications that might meet his

   24     needs or the need to get approval to continue to provide the

   25     medications that he's actually using now, can that be done
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    1     before he actually would have to report to a prison facility?

    2                 THE WITNESS:   It is a question that came up and was

    3     specifically -- I specifically asked Mr. Hernandez that, and I

    4     don't think he had any experience in someone attempting to do

    5     that, but his clear statement was that that is not the

    6     procedure, and when patients or families try to arrange for or

    7     even provide medications from the outside so that their

    8     medication regime doesn't have to be disrupted, that is not a

    9     procedure that the Bureau of Prisons accepts or supports.

   10                 This was particularly in relation also to

   11     antidepressant medications and the treatment of depression.

   12                 THE COURT:   Thank you.

   13    BY MR. PAGE:

   14     Q    So to sum up regarding the Bureau of Prisons formulary,

   15     Mr. Goodman would have, when he reports, if the Court

   16     sentences him to a period of imprisonment, he would have a

   17     medical consultation, correct?

   18     A    Yes.

   19     Q    And at that point in time he would be taken off of his

   20     current regime of medications, correct?

   21     A    Essentially, his current regime would be discontinued, and

   22     some of them I would expect would be immediately restarted,

   23     but some of them would not be restarted because they're not

   24     available.

   25     Q    All right.    And the ones that would be substituted
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    1     would -- are not the current ones that he's on?

    2     A    That's correct.

    3     Q    They are something like it and designed to treat that?

    4     A    That's right.

    5     Q    But they're not the ones that he's on?

    6     A    That's correct.

    7     Q    Is that a problem as an MD?

    8     A    Yes.

    9     Q    Why?

   10     A    Because it's a complex regime of medications.         Because

   11     with this many different medications, there are many, many

   12     particular circumstances of weighing risk and benefit, benefit

   13     and side effect, and the more complex the regime is the more

   14     difficult it is to achieve that balance.         So when you disrupt

   15     that balance through whatever circumstance, it is sometimes

   16     very difficult to get back to that physiological

   17     pharmacological balance where a complex regime of multiple

   18     medications is working together with adequate effect and

   19     minimal side effect.

   20     Q    Is the substitution of medications all at once, up to

   21     perhaps five or six, is or can that be life-threatening?

   22     A    It certainly can be life-threatening, yes.         I wouldn't

   23     ever do that thing -- institute that in clinical practice if I

   24     had any choice.     I wouldn't consider it a responsible choice.

   25     Q    For the reasons you stated?
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    1     A    Yes.

    2     Q    Okay.    So it's possible it could be life-threatening?

    3     A    It is.

    4     Q    All right.    Can you give the Court some idea within a

    5     reasonable degree of medical certainty on the scale of

    6     possibly, maybe, probably, likely, or is that not feasible?

    7     A    I don't think it's likely.      It certainly is something that

    8     if I was asked to do it by a family member, I would say this

    9     is really dangerous.      And if they said to me, well, are you

   10     saying he could die from it?       I would say, I don't think so,

   11     but it's possible.     So it's certainly strong enough that I

   12     would consider it clinically relevant in my practice.

   13     Q    And as a result of this, whether the person's life is

   14     threatened or not, does the patient suffer?

   15     A    Yes.

   16     Q    And how?

   17     A    They almost always will have some change in side effects,

   18     some increase in anxiety about side effects, and they very

   19     often have a decline in the benefits of the medication.           So

   20     increased fatigue, shortness of breath, pain, new side effects

   21     or symptoms, increase in nuisance side effects or symptoms to

   22     something that's worse.      All of those things are likely when

   23     these kinds of medication changes are made.

   24     Q    Could it likely trigger another bout of atrial

   25     fibrillation?
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    1     A    That would be one of the very high probability events,

    2     yes.

    3     Q    And --

    4     A    Because it's stress related, and it's related to the fine

    5     balance of medication, and it's related to high blood

    6     pressure.     So it's related to a lot of things that, when

    7     thrown off balance, are likely to result in atrial

    8     fibrillation.

    9     Q    You also made some conclusions about Mr. Goodman's mental

   10     health status, correct?

   11     A    I did.

   12     Q    Did you watch the video that I played for the Court?

   13     A    I did.    And it's the first time I've seen that actually

   14     visually depicted.

   15     Q    You've heard about it before, correct?

   16     A    I have.

   17     Q    And you've seen documentation about it before?

   18     A    About his hoarding in particular, yes.

   19     Q    Did you see examples of hoarding in that video that I

   20     played for Judge Marra in the court?

   21     A    Yes.   I believe those multiple stacks of paper and

   22     materials and the crowded hallways, those are things that

   23     are -- and crowded spaces are very typical of people with

   24     clinically significant depression, obsessive compulsive

   25     disorder, dependency disorders and patterns of hoarding.
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    1     Q    Now, when you look at Mr. Goodman, he's about 5'8, 5'9

    2     tall and about 520 or 524 pounds, correct?

    3     A    Yes.

    4     Q    It's apparent to you after a little bit, something's

    5     wrong?

    6     A    Yes, that's certainly correct.

    7     Q    Is that what you were tasked to look into as a part of

    8     your job here forensically consulting in this case?

    9     A    Yes.

   10     Q    And so you interviewed Mr. Goodman; you looked at a

   11     variety of documents?

   12     A    That's correct.

   13                 Also interviewed Judy Bartell.

   14     Q    And who's Judy Bartell?

   15     A    His fiance'.

   16     Q    All right.    Thank you.

   17                 So you identified some obsessive compulsive symptoms.

   18     I think you also mentioned earlier in your testimony some

   19     social isolation?

   20     A    Yes.

   21     Q    Briefly what are obsessive compulsive symptoms?

   22     A    He has a pattern of dealing with his variety of lifelong

   23     problems, including his eating and dependency problems, with a

   24     rigid pattern of following his own guidelines and rules, some

   25     of which at some times make a lot of sense, but some of which
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    1     at other times really don't make any sense at all.           They're

    2     not logical at all.      Which is related, for example, to the

    3     hoarding behavior.     So it makes sense for all of us to keep

    4     some stuff and some papers and some things in our attics, and

    5     at some point it doesn't make any sense at all.          And when it

    6     intrudes on the hallway so we can't comfortably walk down the

    7     hallway, we've crossed a line from what makes sense to what

    8     doesn't make sense.      And you see that in his life repeatedly,

    9     and especially now, and it's in those videos.

   10     Q    What is hoarding?     What about it?    What causes it?     Why is

   11     it a component of Mr. Goodman's picture?

   12     A    It's related to his inability to fill himself with -- up

   13     with what he thinks he needs.       So it's a pattern that is

   14     connected also to his eating and his obesity.          It is a pattern

   15     of a deep psychological impairment related to feeling needy

   16     all the time and needing to hold onto and to get and have food

   17     and stuff and things that provide some reassurance, but a

   18     pretty false limited reassurance.

   19     Q    All right.    I'm not a psychiatrist.      Can I say accurately

   20     that Mr. Goodman is addicted to food as a result of his

   21     various issues?

   22     A    I sort of object to throwing the word "addicted" to

   23     everything, but he certainly has a psychological biological

   24     dependency, which is pathological, on food.         So that's

   25     essentially an addiction.
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    1     Q    Is it possible for him, Mr. Goodman, to change in your

    2     opinion?

    3     A    He's not an individual who has substantial capacity to

    4     change.    His personality structure from the time he was a very

    5     young person is rigid.      It has been reinforced over and over

    6     again to become more like it's been rather than less like it's

    7     been.    He's 68 years old.     Change doesn't get easier as we get

    8     older.    It is possible.    People have it, but it's a negative

    9     element.    He is fragile in the sense of being rigid and

   10     brittle.    So his capacity to change is very threatening to the

   11     stability that he does have.

   12                His surgery for his weight loss is an example of a

   13     real effort on his part to change something that needed to be

   14     changed, and from his point of view and a medical point of

   15     view he nearly died as a result of that.         So his motivation to

   16     change, his comfort with change, his ability to change,

   17     looking at his psychological and medical circumstances, is

   18     extremely limited.

   19     Q    If sentenced to -- I want to switch to a different topic

   20     now.    Thank you.

   21                And talk about two issues in finishing your

   22     testimony.    Number one, broadly how Mr. Goodman will handle or

   23     would handle any period of incarceration, number one.

   24                And, number two, which you've already dealt with a

   25     little bit in your testimony, Dr. Maher, how the Bureau of
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    1     Prisons would deal or handle any period of incarceration of

    2     Goodman.     All right?

    3                 So the first category, how Mr. Goodman would handle

    4     or deal or confront the issues inherent in a Bureau of Prisons

    5     sentence.     All right?   Number one there.     Can you give us a

    6     summary?     You're aware of his daily activities and what he

    7     needs assistance with, correct?

    8     A    Yes.

    9     Q    All right.    Would Mr. Goodman require any special care

   10     that might not be available in the Bureau of Prisons?

   11     A    He certainly does require special care, and sort of -- his

   12     activities of daily living, dressing, toileting, making

   13     arrangements for himself on a daily basis and taking care of

   14     himself is extremely limited, and it sort of -- whether we

   15     might accept it or like it or believe it's necessary or not,

   16     his obesity and his medical problems essentially require that

   17     some other person be present to help him with some of these

   18     activities, including toileting activities, dressing,

   19     potentially getting in and out of bed, getting up from a floor

   20     or a low sitting position.

   21                 So that's something that his fiance' Judy does for

   22     him pretty much, and he has a very narrowly arranged

   23     environment in which the doors and the seats and the places he

   24     has to go to and from are constrained such that he can operate

   25     within those.     This is obviously not going to be the
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    1     environment he confronts in the Bureau of Prisons.

    2     Q    All right.    Are you referring to the stools that you saw

    3     on the video that I played for the Court?

    4     A    That would be an example, yes.

    5     Q    All right.    So let's talk about a few of these issues.

    6                 You're aware that in the Bureau of Prisons,

    7     Mr. Goodman would be assigned at some care level, one, two,

    8     three or four, and would be required to get a bed to sleep on,

    9     correct?

   10     A    Yes.

   11     Q    And are hospital beds something that Mr. Goodman would

   12     require because of his size and medical conditions?

   13     A    He would certainly require a specialized bed in terms of

   14     its ability to support his weight, in terms of the height of

   15     the bed.     If it's too low, he's not going to be able to get

   16     out of it without assistance.       So both of those things would

   17     be relevant.     A hospital bed might provide that.       Some other

   18     specialized bed might also.       I have discussed this with

   19     Mr. Wise and Mr. Hernandez, and they both tell me except in

   20     the level four care, that's not going to be available to him.

   21     Q    A hospital bed won't be available?

   22     A    That's right.

   23     Q    Another regular bed will be available?

   24     A    Yes.

   25     Q    And do you see that as being problematic for Mr. Goodman
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    1     if he was imprisoned?

    2     A    Yes.

    3     Q    And how so?

    4     A    Being able to get into and out of bed is a problem.          Being

    5     able to -- assuming he has a BiPAP machine available, being

    6     able to get it in place and use it appropriately is likely to

    7     be a problem.     The standard incarceration environment is not

    8     going to support the use of his necessary medical device.

    9     Q    Are you also aware that when Mr. Goodman, if he would --

   10     were to arrive at the Bureau of Prisons, he might displace

   11     another inmate from their hospital bed if he was assigned to a

   12     care four facility?

   13     A    This is what I have been told and relied on by both

   14     Mr. Hernandez and Mr. Wise, yes.

   15     Q    Are you aware that if a suitable bed was not available,

   16     that Mr. Goodman might be assigned to a special housing unit?

   17     A    Yes.

   18     Q    And that's where there are no hospital beds, correct?

   19     A    Yes, that's correct.

   20     Q    If there are no hospital beds and Mr. Goodman was assigned

   21     to a special housing unit, according to Wise and Hernandez in

   22     their declarations, would Mr. Goodman be assigned to a regular

   23     two-man cell with standard bunk beds?

   24     A    That is their opinion and conclusion, yes.

   25                 One of the themes here that I think is important to
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    1     point out is that the special options and responses to his

    2     situation, his needs, his unique circumstances, tend to be

    3     things which are not especially useful to him because of the

    4     morbid obesity.     He is sufficiently unusual that the Bureau of

    5     Prisons' responses to his special needs are likely to be

    6     unhelpful rather than helpful.

    7     Q    We've already talked about the Bureau of Prisons

    8     formulary, but let me ask you, according to Luis Hernandez, a

    9     27-year veteran of the Bureau of Prisons, how would

   10     Mr. Goodman go about getting daily care?         Would that be

   11     through what's called the chronic care clinic?

   12     A    That's correct.     And that's a clinic that also utilizes

   13     inmate services to support for transportation and some other

   14     things.

   15     Q    Let's talk about that.      The Bureau of Prisons does have a

   16     inmate caregiver program, correct?

   17     A    Yes.

   18     Q    And you're aware of that?

   19     A    Yes, that has been described to me in some detail.

   20     Q    It's not limited, though, is it?

   21     A    I'm sorry, limited?

   22     Q    In terms of its availability 24 hours a day.

   23     A    It is limited.

   24     Q    Okay.   How is it limited?

   25     A    In that it -- well, first of all, these are volunteers, in
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    1     effect.     So the inmates don't have to participate with the

    2     particular person they're assigned to, and they are inmates

    3     who have only a certain incentive to do what might need to be

    4     done.   And they're not available 24 hours a day by any means.

    5     Q    All right.    And doesn't Luis Hernandez also say that some

    6     of these caregivers are often housed in other segregation

    7     units and unavailable?

    8     A    Yes.    These are not companions who are present with a

    9     needy inmate all the time.

   10     Q    If it's voluntary, does Mr. Hernandez, in his declaration,

   11     speak to the issue of pay or money being traded for these

   12     services?

   13     A    Yes.    And that's one of the problems with the food trading

   14     coming up.

   15     Q    You also consulted with Phil Wise, a former Bureau of

   16     Prisons warden, correct?

   17     A    Yes.

   18     Q    And did Mr. Wise make the point involving the area of

   19     visitations and the strip searches, or strip searches I should

   20     say, that occur before and after a visitation?

   21     A    Yes, he did.

   22     Q    Would you tell the Court a little bit about that, please?

   23                 THE COURT:   I've already read these documents, so I

   24     don't know why he needs to tell me what's already -- I've

   25     already read.
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    1                MR. PAGE:    All right.

    2                THE COURT:    We're spending a lot of time having him

    3     repeat what Mr. Hernandez and Mr. Wise said in their

    4     affidavits, which I've read.       So I don't know why we need to

    5     have him tell me what I've already read.

    6                MR. PAGE:    I appreciate that, Your Honor, and I'll

    7     move on.

    8    BY MR. PAGE:

    9     Q    Dr. Maher, is there anything else that you feel the Court

   10     should know about how Mr. Goodman will acclimate and the

   11     issues that he'll confront at the Bureau of Prisons?

   12     A    I think we've covered it.

   13     Q    All right.    And anything else you feel the Court should

   14     know about how the Bureau of Prisons, through its policies,

   15     rules, regulations and the like, will handle an inmate such as

   16     Mr. Goodman of his weight and medical condition and medical

   17     history?

   18     A    I don't really think I can add to what the Court already

   19     has on that subject.

   20                MR. PAGE:    I don't have anything further for

   21     Dr. Maher, Your Honor.      Thank you.

   22                THE COURT:    Thank you.

   23                Any questions, Mr. Schwartz?

   24                MR. SCHWARTZ:    No, Your Honor, thank you.

   25                THE COURT:    Thank you, Doctor.
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    1                THE WITNESS:    Thank you, Your Honor.

    2                THE COURT:    Anything else?

    3                MR. PAGE:    Yes, Your Honor.    Mr. Goodman would like

    4     to make a statement to the Court.

    5                THE COURT:    All right.

    6                THE DEFENDANT:    Your Honor, excuse me for not

    7     standing.    I was going to try to stand for this, but I'm

    8     having a little problem right now.

    9                THE COURT:    That's quite all right.

   10                THE DEFENDANT:    And standing would not be good.

   11                THE COURT:    Don't worry about it.

   12                THE DEFENDANT:    I know and admit that I broke the

   13     law.   I should have devised and operated a system for

   14     detecting suspicious orders and reporting them to the DEA, as

   15     required.    I was a fool.    I was stupid.     I knew better than to

   16     sell to doctors at pain clinics, but I did it.

   17                I've been working in pharmacy since 1962, and as a

   18     licensed pharmacist since '66.        From 1995 to the present, I've

   19     been the owner of a wholesale pharmaceutical distributor.            In

   20     all my years in pharmacy, I've never had a problem until I

   21     made my foolish mistakes in 2008.        I have no excuses for what

   22     I did and in what I didn't do.        All I can say about pharmacy

   23     is that I've been very blessed being a pharmacist and being in

   24     pharmacy.    I've been doing this for 50 years.        There aren't

   25     many people that can say that they've loved their job every
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    1     day of their career the way I have loved pharmacy, and I'm

    2     sorry that I'm going to be losing my licenses, it appears, and

    3     that I won't be able to do it anymore.

    4                By my actions I've disgraced myself, my integrity and

    5     my profession.     I've hurt my family, my fiance', Judy Bartell,

    6     and her family.     I've already told my family, and I'm telling

    7     you and the prosecution team here today, I am truly sorry for

    8     what I've done.     I have embarrassed myself and my family.         By

    9     my actions, I'm going to lose my licenses and the only career

   10     I have ever known.     I accept responsibility for what I have

   11     done.   I have cooperated.      I have pled guilty.     I have tried

   12     to make amends, and I have offered to help in other cases and

   13     have done that already.

   14                I am 68, soon to be 69.      I am in poor health and may

   15     not be alive much longer.       I am sick at what I let happen.       I

   16     ask for your understanding.       Already two of the defendants

   17     have died.    I don't want to be the third.       I am afraid that

   18     I'll be more of a burden to the Bureau of Prisons than the

   19     system can handle.     I will not receive the care that I

   20     desperately need to help keep me alive and in the kind of care

   21     that I have been receiving in the community, and I don't want

   22     to die in the prison.

   23                I feel that I am at great risk if I am incarcerated,

   24     and I beg for your mercy and forgiveness.         I assure you that

   25     nothing like this will ever happen again.         I would like a
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    1     second chance and hope that my 46-year career without a

    2     blemish will be a factor in your decision.

    3                Thank you for considering my circumstances and

    4     listening to me.     Again, I ask for your mercy.

    5                THE COURT:    Thank you, sir.

    6                All right.    Mr. Schwartz, do you want to be heard on

    7     what you think an appropriate sentence would be?

    8                MR. SCHWARTZ:    Your Honor, the Government relies on

    9     the Court's discretion in the sentencing of this defendant.

   10     Obviously the 3553 factors are very strong.         The Court is

   11     obviously very well aware of this Defendant's actions in

   12     comparison to the actions of the other defendants in this

   13     case.   So basically the Government relies on the Court's

   14     discretion.

   15                THE COURT:    All right.    Thank you.

   16                MR. SCHWARTZ:    Thank you.

   17                THE COURT:    Mr. Page, anything else?

   18                MR. PAGE:    Briefly, Your Honor.

   19                And I appreciate the Court's indulgence.        I know that

   20     I sent the Court a lot of documents, including character

   21     letters, a 30-Page sentencing memorandum, and the Court heard

   22     Dr. Maher's testimony today.

   23                This is a unique situation.      I've been practicing a

   24     long time.    I've never represented someone who's confronted

   25     these kind of weight issues, coupled with the background of
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    1     his mental history.      And I've been representing Mr. Goodman

    2     for over a year now since Mr. Schwartz sent Mr. Goodman a

    3     subpoena, and I got involved as a lawyer in Tampa because

    4     Mr. Goodman lives in St. Petersburg.        And I've been struggling

    5     to find out and answer for my own what makes him tick and how

    6     come he's been obese for so long.        And I was the one who

    7     reached out to Dr. Maher, Your Honor, because I thought it was

    8     important for the Court to understand that there is a lot of

    9     weight prejudice in our society, and I think it's important to

   10     understand, and I think Dr. Maher helps us understand that,

   11     that whether you call it a ghost or some other hidden factor,

   12     but something's driving Mr. Goodman to eat like he does.           It's

   13     been a lifelong problem, but it's been, you know, out of

   14     control for the past 20 years, and it doesn't look like he can

   15     fix it.    The leopard I don't think here can change his spots

   16     even in the Bureau of Prisons without some super-duper

   17     intervention that I cannot envision.

   18                But the reason I asked Dr. Maher to look at this was

   19     because I thought it was very important, because our weight

   20     prejudices in society tell us that, you know, you have too

   21     much over the weekend, well, Monday those pants are going to

   22     be tight.    And that's what I grew up with, and, in fact,

   23     afflicts me.    But somehow I'm able to stop.       I don't think

   24     Mr. Goodman is, and I don't think its intentional.           Something

   25     is driving him in there to keep eating and become addicted to
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    1     food.   It's frustrating, it's maddening, but he has had some

    2     weighed surgery in the past.       It didn't go well.     He had an

    3     emergency tracheotomy.      So that's kind of scared him off from

    4     that area.

    5                But he comes to us as he is.      He's got a number of

    6     medications, a number of medical conditions.          Dr. Maher

    7     testified about his obsessive compulsive behavior.           You saw it

    8     in the video, the hoarding here and there, the clues.           You

    9     know, in police work they call these clues in my view are

   10     unmistakable.     This is a different person, and he's not going

   11     to do well in the Bureau of Prisons, and the Bureau of Prisons

   12     is going to struggle to care for him on a daily basis.            And

   13     that struggle, there will be no winner.         The only struggle

   14     there, Mr. Goodman will be a loser and the Bureau of Prisons

   15     will feel frustrated because they're just going to struggle to

   16     deal with his numerous conditions and his lack of mobility,

   17     the issues that we addressed in the sentencing memo and in the

   18     Wise and Hernandez declarations.

   19                So I put it in the sentencing memo, Your Honor, and

   20     that is that we feel that a sentence of probation is fair

   21     given Mr. Goodman's entire situation and scenario, and with a

   22     condition of that probation being a year of home confinement.

   23                We're also cognizant, for example, that the Court in

   24     a codefendant, Dr. Lizarazo, that you imposed a condition of a

   25     four-year probationary sentence with a term of three years of
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    1     home confinement.     But I'm also aware that under the

    2     guidelines, probation and the folks that administer the home

    3     confinement program really don't like it if it's in excess of

    4     six months, but it's entirely within your discretion.

    5                And I've been to Mr. Goodman's home.        I helped make

    6     that video that the Court saw.       And he's really right now in

    7     his own prison at home.      And, in fact, it's going to get

    8     worse, because as I put in the memo, Your Honor, the State of

    9     Florida is in the process of taking his pharmacy licenses.

   10     It's just a matter of time.       They will be gone.     He can't

   11     renew them in view of this conviction irrespective of how the

   12     Court sentenced him today.       That is -- will be a part of his

   13     repertoire that will go away shortly, because as DEA is aware,

   14     he forfeited his DEA registration in June of 2'10, so he

   15     hasn't been selling any controlled substances since then as a

   16     wholesaler.    But even his ability to sell non-controlled's,

   17     Your Honor, from that former gas station on Central Avenue in

   18     St. Pete now known as Medical Arts Pharmacy, Inc. is about to

   19     end.   And when that ends, Mr. Goodman will be at home confined

   20     basically to that recliner that you saw in the video.

   21                I'm asking you to keep him there so that he can get

   22     the required medical attention and care in the community at

   23     his cost, rather than the Bureau of Prisons, and to avoid the

   24     struggles that I think we both know are inherent in sending

   25     him to prison for any period of time.
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    1                I ask the Court's indulgence, and I appreciate again

    2     the Court's time that it gave me this morning to make a full

    3     and fair presentation.      And, finally, I'm happy to answer any

    4     questions that the Court might have that I haven't touched on

    5     as you go about fashioning a sentence.

    6                THE COURT:    When do you anticipate he is going to be

    7     finished with operating his business?

    8                MR. PAGE:    Well, I can tell you if you told him

    9     within a week we would make that happen, Your Honor.           All I

   10     know is that I've spoken with Ed Bayo, his lawyer in

   11     Tallahassee, and the Department of Business and Professional

   12     Regulation, Your Honor, has a emergency procedure --

   13     proceeding, excuse me, right now, saying just give up your

   14     ability to wholesale.      And Mr. Goodman, candidly, Your Honor,

   15     is struggling with that, because what you heard from him today

   16     and others is this is his whole identity, you know.           It's

   17     gone.   His career -- he did it.       We're not asking for sympathy

   18     on that issue, Your Honor.       We're only asking for some

   19     empathy.    But it's honestly in my candid estimation a matter

   20     of time, probably 30 days or less before the Florida -- State

   21     of Florida says that's it, you're done.

   22                THE COURT:    Because you're asking me not to send him

   23     to prison and keep him in home confinement, but ordinarily

   24     home confinement allows someone to continue to go to work.

   25     And if I just let him continue to go to work and keep him home
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    1     confined, really nothing's changed.        He hasn't received any

    2     punishment for anything, because he'll be doing exactly what

    3     he does every day.      He'll come go to work, come home and he

    4     stays home the rest of the time and there will be no change.

    5     So if you want home confinement, it's going to be home

    6     confinement.    That means he doesn't go anywhere except to the

    7     doctor when he needs to.

    8                MR. PAGE:    That's what he wants, Your Honor.       And

    9     he's prepared to shut down his business, and he just needs a

   10     little bit of time for the wind-down, because he has a little

   11     bit of current inventory, vitamins and the like, and needs to

   12     do some paperwork.      But he would honor any timeframe that the

   13     Court imposed.     And practically speaking, though, he won't

   14     have the licenses shortly.

   15                So I am asking for that, and he understands that.          I

   16     visited with him about this, Your Honor.         Home confinement is

   17     home confinement and does not include work.

   18                THE COURT:    All right.    Thank you, sir.

   19                MR. PAGE:    Thank you, Your Honor.

   20                Anything else, Mr. Schwartz?

   21                MR. SCHWARTZ:    No, Your Honor, thank you.

   22                THE COURT:    It's a troubling, troubling case

   23     obviously because of this Defendant's physical and -- physical

   24     situation.

   25                My initial reaction when I was presented with all of
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    1     this information and with the circumstances surrounding

    2     Mr. Goodman was why should he escape prison, like however many

    3     of the people I've already sentenced, 29 approximately, only

    4     one of whom I believe did not get any prison time, because of

    5     his obesity.    Is that fair to the others who went to prison?

    6                Now, the one thing that resonates with me in terms of

    7     this defendant, as compared to the others and did the same

    8     with Dr. Lizarazo, was the potential adverse physical and

    9     medical effects of going to prison that confinement might have

   10     on Mr. Goodman.     No judge likes to send someone to prison to

   11     die.   Sometimes it happens, but no one wants that to happen.

   12     No judge wants somebody to die in prison unnecessarily.

   13                Now, when I look at his guidelines, which are what,

   14     41, at the bottom 41 months, then the Government's downward

   15     departure for substantial assistance, plus his physical

   16     conditions which would justify a departure under Section

   17     5H1.4, plus the variances that I've given to most of the

   18     defendants in this case, I'm looking at a period of

   19     imprisonment which, as I have to say, is it worth sending him

   20     to prison for the amount of time I would send him to prison if

   21     he wasn't in these conditions?       Is it worth it just for the

   22     overall fairness of the situation?

   23                So I've come to the conclusion that it's really --

   24     for the period of time that I would send him to prison if he

   25     wasn't in this condition, it doesn't make sense under the
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    1     situation that we're dealing with.        But there has to be some

    2     punishment, and if he's got a one- to three-year lifespan,

    3     that's what the doctor says, well, he doesn't want to die in

    4     prison, he may very well die in his house, but that's where

    5     he's going to be spending his remainder of his time, if that's

    6     what his lifespan is.

    7                So having said all that, the Court has considered the

    8     statements of all the parties, the presentence report which

    9     contains the advisory guidelines, as well as the statutory

   10     factors set forth in 18 U.S.C., Section 3553(a)(1) through

   11     (7).

   12                The Court finds the Defendant is able to pay a fine.

   13                The Court finds, as I've said previously, the

   14     Defendant is entitled to a reduction of his sentence based

   15     upon substantial assistance that he's provided to the

   16     Government under Section 5K1.1 of the Sentencing Guidelines,

   17     the Court also finds that he's entitled to a departure under

   18     Section 5H1.4 of the Sentencing Guidelines based upon his

   19     physical condition, and the Court also finds that under the

   20     3553 factors, that a variance below the guideline range would

   21     also be appropriate.

   22                So taking into account all those various factors, the

   23     Court's going to impose a sentence below the advisory

   24     guideline range.

   25                Pursuant to the Sentencing Reform Act of 1984, it's
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    1     the judgment of the Court that the Defendant, Steven Goodman,

    2     is hereby placed on probation for a period of four years as to

    3     count 1.

    4                It's further order the Defendant shall pay to the

    5     United States a total fine of $25,000.         The fine is payable to

    6     the Clerk, United States Courts, and is to be forwarded to the

    7     United States Clerk's Office, Attention Financial Section, 400

    8     North Miami Avenue, Room 8N09, Miami, Florida, 33128.           The

    9     fine is payable immediately.

   10                The United States Bureau of Prisons, the United

   11     States Probation Office and the United States Attorney's

   12     Office are responsible for enforcement of this order.

   13                Upon release from imprisonment, the Defendant shall

   14     be placed -- excuse me.      While on probation, the Defendant

   15     shall not commit any crimes, he shall be prohibited from

   16     possessing a firearm or other dangerous devices, and he shall

   17     not possess a controlled substance.        He shall cooperate in the

   18     collection of DNA and shall comply with the standard

   19     conditions of probation that have been adopted by this court,

   20     as well as the following special conditions:

   21                Home confinement for a period of 30 months, during

   22     which he will not be permitted to work except for the next --

   23     first two weeks of his probation.        He can wind up his business

   24     affairs, and after that no longer -- no more working.           And

   25     he's permitted to obviously leave the home for any medical
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    1     appointments or medical needs.

    2                The Court also imposes the special condition of

    3     association restriction, relinquishment of licensure, and

    4     permissible search, as noted in Part G of the presentence

    5     report.

    6                The Defendant shall also immediately pay to the

    7     United States a special assessment of $100.

    8                So the total sentence is four years' probation,

    9     $25,000 fine, with the special conditions of 30 months of home

   10     confinement and a $100 special assessment.

   11                Now that sentence has been imposed, does the

   12     Defendant or his counsel object to the Court's findings of

   13     fact or the manner in which sentence was pronounced?

   14                MR. PAGE:    No, Your Honor.

   15                THE COURT:    Does the Government?

   16                MR. SCHWARTZ:    No, Your Honor.

   17                THE COURT:    Mr. Goodman, you have the right to appeal

   18     the sentence that's been imposed.        If you wish to file an

   19     appeal, you must file your notice of appeal within 14 days

   20     from the date judgment's entered in this case, and if you're

   21     unable to pay for the cost of an appeal, you may seek leave to

   22     file the appeal in forma pauperis.

   23                When should he report to probation?        Is he going to

   24     report in the Middle District?

   25                PROBATION OFFICER:     That's what I'll have to call and
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    1     find out, but I'm not sure.       But I believe he will be

    2     reporting up there.

    3                THE COURT:    Where has he been reporting, to the

    4     Middle District?

    5                PROBATION OFFICER:     To the Middle District.

    6                MR. PAGE:    Pretrial services in the Middle District.

    7                THE COURT:    I guess he should report there on Monday

    8     unless directed otherwise by the probation office.

    9                All right.    Anything else?

   10                MR. PAGE:    Nothing, Your Honor.

   11                MR. SCHWARTZ:    No, Your Honor, thank you.

   12                THE COURT:    Good luck, Mr. Goodman.

   13                THE DEFENDANT:    Thank you.

   14          (Proceedings concluded.)

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    1                                   * * * * *

    2                                   I N D E X

    3    Testimony of Scott Michael Maher

    4                Direct by Mr. Page                            17

    5                                   * * * * *

    6                                E X H I B I T S

    7    Defendant's Exhibits in Evidence:

    8                Defendant's 1-7                               16

    9                                   * * * * *

   10                                  CERTIFICATE

   11          I, Stephen W. Franklin, Registered Merit Reporter, and

   12     Certified Realtime Reporter, certify that the foregoing is a

   13     correct transcript from the record of proceedings in the

   14     above-entitled matter.

   15          Dated this 4th day of OCTOBER, 2012.

   16

   17          /s/Stephen W. Franklin
               _____________________________
   18          Stephen W. Franklin, RMR, CRR

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